                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION


UNITED STATES OF AMERICA                     )       DOCKET NO. 3:04CR274-MU
                                             )
              vs.                            )       ORDER FOR DISMISSAL
                                             )         INDICTMENT
(18) SINAL PUTH                              )


       Leave of Court is hereby granted for the dismissal of the Bill of Indictment (as it pertains

to SINAL PUTH only) in the above-captioned case without prejudice.

       The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

Marshall Service, Defense Counsel and the United States Attorney's Office.

                                                 Signed: August 30, 2007




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